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                                UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION


       MONETTE E. SACCAMENO,
                                                          CIVIL ACTION
       Plaintiff,

       v.                                                 Honorable. Joan B. Gottschall

       OCWEN LOAN SERVICING, LLC,                         Case No.: 15-CV-1164
       U.S. BANK NATIONAL
       ASSOCIATION, AS TRUSTEE FOR                        JURY TRIAL DEMANDED
       THE C-BASS MORTGAGE LOAN
       ASSET-BASED CERTIFICATES,
       SERIES 2007 RP1 AND POTESTIVO
       & ASSOCIATES, PC

       Defendant.

                                   FIRST AMENDED COMPLAINT

       Plaintiff, MONETTE E. SACCAMENO ("SACCAMENO"), by and through her

attorneys, SULAIMAN LAW GROUP, LTD., hereby complains of the Defendants, OCWEN

LOAN SERVICING, LLC ("Ocwen"), U.S. BANK NATIONAL ASSOCIATION, AS

TRUSTEE FOR THE C-BASS MORTGAGE LOAN ASSET-BASED CERTIFICATES,

SERIES 2007 RP1 ("US Bank") and POTESTIVO & ASSOCIATES, PC ("Potestivo") as

follows:

                                         NATURE OF THE ACTION

    1. Saccameno brings this action for damages from violations of the Fair Debt Collection

           Practices Act, 15 U.S.C. §1692, et seq. (hereinafter “FDCPA”), the Real Estate

           Settlement Procedures Act (“RESPA”), the Illinois Consumer Fraud and Deceptive

           Business Practices Act (hereinafter “ICFA”) and Breach of Contract.




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2. All of the claims stated herein stem from the wrongful servicing, debt collection, and loss

   mitigation activities related to Saccameno's mortgage loan.

                                  JURISDICTION AND VENUE

3. This action arises under the FDCPA, RESPA, ICFA and Breach of Contract. Subject

   matter jurisdiction is conferred upon this Court by 15 U.S.C. §1692k(d), 12 U.S.C. §

   2605 and 28 U.S.C. §§1331, 1337, as the action arises under the laws of the United

   States, and supplemental jurisdiction exists for state law claims pursuant to 28 U.S.C.

   §1367.

4. Venue is proper in this Court pursuant to 28 U.S.C. §1391, as each defendant conducts

   business in this District and a substantial portion of the events or omissions giving rise

   to the claims occurred within this District.

                                                  PARTIES

5. Plaintiff, Saccameno, is a natural person who resides at 3324 Calwagner Street, Franklin

   Park, IL 60131 (“subject property”). The subject property is Saccameno's primary

   residence.

6. Saccameno was a Debtor under Chapter 13 of Title 11 of the United States Code in Case

   Number 09-49467 filed December 31, 2009, in the Northern District of Illinois ("the

   Chapter 13 Bankruptcy case").

7. At all times relevant to the action, US Bank was and is a National Association with its

   principal place of business in Minneapolis, Minnesota. US Bank conducts and transacts

   business in the State of Illinois. US Bank is vicariously liable for the actions of Ocwen

   in this matter.




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8. At all times relevant to the action, Ocwen was and is a Delaware Limited Liability

   Company with its principal place of business in West Palm Beach, Florida. Ocwen

   conducts and transacts business in the State of Illinois.

9. Defendant Potestivo & Associates, PC (“Potestivo”) is a law firm authorized to do

   business in the state of Illinois. Potestivo is in the business of collecting debts from

   Illinois residents on behalf of third-party creditors, servicers, and debt collectors.

                                         STATEMENT OF FACTS

10. On January 3, 2002, Plaintiff obtained a loan (“subject debt” or “subject loan”) from

   Ameriquest Mortgage Company secured by a mortgage on the property located at 3324

   Calwagner Street, Franklin Park, IL 60131 (“subject property”). See Exhibit A attached

   hereto is a true copy of the mortgage, adjustable rate note and assignments.

  a.     Plaintiff’s Default and US Bank’s Foreclosure Filing

11. Plaintiff failed to make payments on the subject loan from about November 2008

   through January 2009. Thereafter, US Bank declared her in default.

12. Based on Plaintiff’s failure to make her November 2008 through January 2009

   payments, US Bank filed a foreclosure complaint in the Circuit Court of Cook County,

   Illinois titled US Bank v. Monette E. Saccameno, et al., Case No. 09 CH 5697, on

   February 9, 2009 (“foreclosure”).

13. US Bank, in the foreclosure complaint, alleged that Plaintiff defaulted on the subject

   loan in November 2008. Based on the default, US Bank accelerated the entire balance

   of the subject loan.

  b.     Plaintiff’s Chapter 13 Bankruptcy

14. On December 31, 2009, after the foreclosure was filed, Plaintiff filed the Chapter 13

   bankruptcy case to cure all pre-petition defaults on the subject loan.
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15. US Bank was duly disclosed on Schedule D of Plaintiff’s bankruptcy petition as a

   secured creditor as a result of the mortgage encumbering the subject property. See

   Exhibit B attached hereto is a true copy of Schedule D of the Plaintiff’s bankruptcy

   petition.

16. Also on December 31, 2009, Plaintiff filed her Original Chapter 13 Plan (“Plaintiff’s

   Plan”) with the Bankruptcy Court. See Exhibit C attached hereto is a true copy of

   Plaintiff’s Original Chapter 13 Plan filed with the Bankruptcy Court.

17. Plaintiff’s Plan, in pertinent part, sought to cure the default as it relates to US Bank, in

   the amount of $25,713.42. Id.

18. On February 1, 2010, Plaintiff filed a Modified Chapter 13 Plan (“Plaintiff’s Modified

   Plan”). See Exhibit D attached hereto is a true copy of Plaintiff’s Modified Chapter 13

   Plan filed with the Bankruptcy Court.

19. Plaintiff’s Modified Chapter 13 Plan dated February 1, 2010 included language in

   Section B(2)(a), that if the Plaintiff cured the pre-petition defaults through her

   bankruptcy payments, “the mortgage will be reinstated according to the original terms,

   extinguishing any right of the mortgagee to recover any amount alleged to have arisen

   prior to filing of the petition.” Id.

20. Plaintiff’s Modified Chapter 13 Plan dated February 1, 2010 included language that

   Plaintiff would pay the mortgage arrears to US Bank by making payments to the Chapter

   13 Trustee, and also resume making regular monthly payments to US Bank beginning in

   January 2010 in the amount of $1,800.00 per month. Id.

21. US Bank did not object to its treatment in Plaintiff’s Modified Chapter 13 Plan dated

   February 1, 2010.



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22. Consequently, Plaintiff’s Modified Chapter 13 Plan was confirmed by the Honorable

   Judge John H. Squires on February 17, 2010. See Exhibit E attached hereto is a true

   copy of the Confirmation Order entered by the Honorable Judge John H. Squires.

23. On October 11, 2011, a Notice of Transfer of Claim was filed in the Bankruptcy Court

   in regards to the Subject Loan and Subject Property from U.S. Bank to Ocwen.

  c.     Plaintiff’s Full Performance on Terms of the Confirmed Modified Chapter
  13 Plan

24. Plaintiff made all of her payments as proposed in her confirmed Modified Chapter 13

   Plan to Marilyn O. Marshall, Chapter 13 Trustee, which included the payments for the

   mortgage arrears to US Bank/Ocwen provided for in Section E5 of the Confirmed

   Chapter 13 Plan.

25. Additionally, the Plaintiff made all of her current monthly mortgage payments directly

   to US Bank/Ocwen as provided by the Confirmed Chapter 13 Plan.

26. While the Chapter 13 case was pending, US Bank/Ocwen never filed a Motion for

   Relief from Stay.

27. Prior to the change of servicing of the mortgage loan from US Bank to Ocwen, the

   previous servicer (Litton Loan Services for US Bank) returned several payments made

   by the Plaintiff in violation of the Confirmed Chapter 13 Plan which were later re

   tendered.

28. Although the Notice of Transfer of Claim was filed in October 2011, Ocwen began

   servicing the Mortgage Loan in approximately July 2011. See Exhibit F attached hereto

   is a true copy of an Ocwen Pay History beginning in July 2011 (when the mortgage loan

   was acquired by Ocwen) to April 2014 (“the Pay History”).




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29. According to the Pay History, at the time that Ocwen began serving the Mortgage Loan

   there were fees assessed to the Mortgage Loan Account in the amount of $2,646.50 (no

   detail provided as to the breakdown of the fees), an Escrow Account Balance of $0.00

   (which was adjusted on July 18, 2011 to $-1,130.72) and a Suspense Balance of

   $2,774.32.

30. Ocwen, during the course of the Chapter 13 case assessed many fees and expenses

   which were sometimes assessed to the Plaintiff’s mortgage account and/or escrow

   account by Ocwen. These fees and expenses included but were not limited to: a) Late

   Charges of $3,322.98 on September 4, 2011; b) Late Charge of $1,302.43 on September

   30, 2011; c) Late Charges of $664.30 on October 24, 2011; d) Property Valuation

   Expense of $110.00 on February 22, 2012; e) Property Taxes of $2,537.18 on February

   24, 2012; f) Escrow Account Adjustment of $5.00 on March 5, 2012; g) Late Charges of

   $63.34 of October 17, 2012; h) Two Late Charges of $63.34 of October 17, 2012; i)

   Property Taxes of $3,010.80 on July 27, 2012; j) Insurance Disbursement of $742.00 on

   August 10, 2012; k) Property Taxes of $3,051.31 on February 19, 2013; l) Escrow

   Account Adjustment of $6.00 on March 28, 2013; m) Foreclosure Sale costs of $780.00

   on May 20, 2013; n) Prior Servicer Fees of $275.63 on May 20, 2013; and Foreclosure

   Sale costs of $780.00 on June 18, 2013;

31. The Pay History reflects that during the entire time the Chapter 13 was pending and

   Ocwen was servicing the Mortgage Loan that there existed a large positive balance in

   Suspense. The highest balance was $12,601.19 but the average was at least $7,000.00

   to $8,000.00. Holding funds in suspense and not properly applying those suspense funds

   allowed Ocwen to charge fees such as late fees, foreclosure sales and property valuation



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   expenses which could not and should not have been charged. In addition to all the

   improper charges, Ocwen also returned and/or reversed several payments to create

   alleged defaults and to make alleged defaults higher when in fact the Plaintiff was

   current or had obligations as set for by her confirmed Chapter 13 Plan.

32. On June 20, 2013, Marilyn O. Marshall, Chapter 13 Trustee filed a Notice of

   Completion of Plan Payments.

33. On June 27, 2013, the Chapter 13 Bankruptcy Trustee, Marilyn O. Marshall, issued a

   Notice of Payment of Final Mortgage Cure Under Rule 3002.1(f) as it related to Ocwen.

   See Exhibit G attached hereto is a true copy of the Notice of Payment of Final Mortgage

   Cure.

34. Ocwen or any other party on behalf of Ocwen failed object or to file a Response to

   Notice of Payment of Final Mortgage Cure, presumably because Plaintiff was current.

35. On June 27, 2013, the Bankruptcy Court entered an Order of Discharge in Plaintiff’s

   Chapter 13 Bankruptcy case. See Exhibit H attached hereto is a true and correct copy of

   the Bankruptcy Order of Discharge.

36. The failure of Ocwen to timely file a Response to the Notice of Payment of Final Cure

   and the entry of the Plaintiff’s Chapter 13 Discharge on June 27, 2013 caused the

   Plaintiff to be contractually current as of that date (the date the Discharge was issued on

   June 27, 2013) pursuant to 11 U.S.C. 524, Federal Rule of Bankruptcy Procedure 3002.1

   and the language of the Confirmed Plan. Any alleged post-petition bankruptcy default,

   which did exist, was discharged along with amounts claimed pre-petition in the Proof of

   Claim of US Bank/Ocwen (Claim 1). In essence, as of the Date of Discharge the

   Plaintiff (June 27, 2013) was contractually current with Ocwen. See 11 U.S.C 524,



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   Federal Rule of Bankruptcy Procedure 3002.1 and United Student Aid Funds, Inc. vs.

   Espinosa, 559 U.S. 260, 276 (2010) (specifying that party failing to oppose plan at

   appropriate time may not obtain post-judgment relief).

       d. Ocwen’s Continued Efforts to Collect Paid Pre-Petition Arrears

37. After the issuance of the Chapter 13 Discharge, the Plaintiff and her representatives

   contacted Ocwen multiple time in writing and by telephone to discuss the Mortgage

   Loan. In fact, in July 2013, the Plaintiff provided documents and requested Ocwen to

   correct the errors in its records in an attempt to refinance the Mortgage Loan and lower

   her payments as a result of a lower rate (the Mortgage Loan call for interest at 8.5%). In

   response to a written inquiry (which was in essence a Qualified Written Request) on

   August 14, 2013, Ocwen stated that only 40 (of 42) current payments were received

   during the Chapter 13 case and many expenses had been advanced which were unpaid as

   well. See Exhibit I attached hereto is a true copy of the August 14, 2013 Letter from

   Ocwen with attachments.

38. Despite receiving full payment on its pre-petition arrears claim, Ocwen repeatedly

   attempted to collect the pre-petition default that was paid to Ocwen through the

   Bankruptcy process. Specifically, the foreclosure case and continued sending statements

   and demands for payment for amounts already paid by Saccameno through her

   bankruptcy.

39. The Plaintiff herself, her original Attorney in the Bankruptcy case and Attorney Susan J.

   Van Sky communicated with Ocwen about their unlawful continued demands starting in

   July 2013 with no success. Specifically, Saccameno sent Qualified Written Requests




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   thus requiring this Complaint and other legal actions to protect the Plaintiff’s rights and

   enforce her Chapter 13 Discharge.

40. In order to try and restart a conversation with Ocwen regarding amounts alleged due by

   Ocwen, Plaintiff had requested reinstatement figures to determine as a final attempt at

   resolution if Ocwen would provide figures that complied with the Plaintiff's Chapter 13

   Discharge.

41. On October 2, 2014, Ocwen, by and through its attorneys, Potestivo & Associates

   (“Potestivo”), sent Plaintiff reinstatement figures relating to the subject loan. See Exhibit

   J attached hereto is a true copy of the Reinstatement Quote.

42. A review of the Reinstatement Quote demonstrates that the amount alleged to be due

   could not possibly be true.

43. Potestivo sent reinstatement figures that were invalid based both on the non

   consideration for the Discharge Order and the fact that Ocwen had continued to accept

   payments and misapply these payments and other amounts sent by Plaintiff to amounts

   that were discharged.

44. Potestivo sent the reinstatement figures without confirming the accuracy of the numbers

   and/or the file before sending the Reinstatement Quote being presented to Plaintiff.

45. Potestivo does not have systems in place to find mistakes and obvious errors in files that

   have been discharged on bankruptcy.

46. The reinstatement letter sent by Potestivo was sent for the purpose of collecting on a

   debt.

47. The reinstatement figures sent from Potestivo were false and misleading and Plaintiff

   was highly confused as Plaintiff had been mailing in regular payments and was lead to



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    believe that her bankruptcy has no effect based on amounts being included in the

    Reinstatement Quote which Plaintiff knew to be discharged.

 48. The reinstatement letter sent by Potestivo had the following deceptive, fale, misleading,

    oppressive and abusive items:

           (i) misrepresentations of the status of the debt;

           (ii) attempts to collect illegal fees and costs not authorized by law or the contract;

           (iii) misrepresentations of the amounts owed for escrow;

           iv) declaring the loan in delinquent or default status;

           (v) threatening a foreclosure sale,

           (vi) assessing illegal foreclosure fees;

           (vii) assessing escrow overdraft charges and improper corporate advances, fees,

           and costs in their dunning letters, acceleration notices, restatement letters, and

           payoff letters;

           \(viii) reporting false information and by reporting the loan delinquent to credit

           bureaus.

 49. Plaintiff’s attorneys (several different attorneys) have made repeated requests via

    Qualified Written Requests to Ocwen and Potestivo, to recognize Plaintiff’s bankruptcy

    payments and to apply post-petition to post-discharge months. Ocwen has ignored,

    criticized, and refused to recognize Plaintiff’s requests as valid, including her requests

    for accurate reinstatement figures.

 50. Ocwen is seeking to collect pre-petition debts from Plaintiff, which were paid through

    her Chapter 13 bankruptcy in violation of the discharge injunction and Federal Rule of

    Bankruptcy Procedure 3002.1.



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 51. Beginning in July 2013 through December 2014, Plaintiff sent numerous RESPA

    Qualified Written Requests (“QWR”) to Ocwen. Some of the QWRs were sent by

    Plaintiff and some were sent by on her behalf by Attorney David Cohen (who

    represented Plaintiff previously in the Chapter 13 Bankruptcy case) or by Attorney

    Susan J. Van Sky. As stated above the issues related to payments and the Escrow

    Account. Ocwen responded to some QWRs (as described above).

 52. In fact, Ocwen did not investigate anything of substance in response to the QWRs.

    Ocwen did not address (a) its mismanagement of the escrow; (b) reasons for the monthly

    payment increases or the escrow “shortages;” (c) the overcharging of taxes and

    insurance; (d) the assessment of pre-modification charges to post-modification

    statements; (e) withholding escrow funds in excess of the 1/6th cushion; or (f) the

    assessment of “foreclosure charges” during a Chapter 13 Bankruptcy.

 53. Plaintiff has been forced to retain counsel to enforce her rights and has expended time

    consulting with her attorneys as a result of US Bank and/or Ocwens' actions.

 54. US Bank and/or Ocwen’s own attorneys were aware that the foreclosure proceeding

    sought to collect a discharged debt, yet proceeded with the action.

 55. Plaintiff has suffered from emotional distress, depression, mental anguish, anxiety, and

    incurred medical expenses as a direct result of US Bank and Ocwen’s actions as she was

    led to believe that she would lose her family’s residence if she failed to pay the satisfied

    pre-petition arrears and post-petition current payments already discharged and/or paid

    through her bankruptcy.

 56. The post-discharge collection attempts were blatant violations of the Chapter 13

    Discharge Order and Saccameno's rights under Federal and State law.



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 57. Plaintiff has since applied for and been denied credit (including but not limited to the

    refinancing of the subject mortgage loan) due to the status of the subject loan on her

    credit report.

 58. An example of the problems with the Reinstatement Quote is that the Reinstatement

    Quote seeks payment for “Escrow Due” in the amount of $13,180.86. This is a factual

    impossibility as only two types of Escrow Expenses have come due post Chapter 13

    Discharge.       The first type is for real estate taxes for July 2013, March 2014 and July

    2014 and total no more than $9,000.00.          Insurance is the second type of Escrow

    Expenses which was paid in October 2013 and 2014 for no more than a total of

    $1,600.00.       However, the Escrow Account had a positive balance up through and

    including the end of the Pay History in April 2014. At that time, the positive balance

    was $1,115.79.

                                 COUNT I – BREACH OF CONTRACT
                                 (AGAINST OCWEN AND US BANK)

 59. Saccameno restates and realleges paragraphs 1 through 59 as though fully set forth

    herein.

 60. Saccameno fully performed her duties under the note and/or mortgage as modified by

    Chapter 13 Plan by tendering all monthly payments to the US Bank and/or Ocwen.

 61. Sccameno's loan was fully reinstated to its original payment schedule on the date of the

    Chapter 13 Discharge.

 62. US Bank and/or Ocwen unlawfully charged and maintained deposits in Saccameno's

    escrow account above the limits allowed by Saccameno's mortgage contract or the 1/6th

    cushion under RESPA.

 63. US Bank and/or Ocwen are in further material breach of contract for their:

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       a.   failure to accept Saccameno’s mortgage payments;
       b.   failure to credit and apply Saccameno’s payments as required by the contract;
       c.   assessment of unauthorized late fees, legal fees, costs, & property inspection fees;
       d.   failure to apply payments to interest and principal before escrow and fees;
       e.   failure to dismiss the foreclosure action for thirteen months;
       f.   failure to provide accurate repayment and reinstatement figures;
       g.   failure to accurately respond to Saccameno’s correspondence and other disputes;
       h.   overcharging Saccameno’s escrow account for taxes and insurance;
       i.   modifying monthly payments without notification to Saccameno;
       j.   placing the loan in default and negatively reporting Saccameno to credit bureaus;
       k.   converting escrow funds to unauthorized fees and costs; and
       l.   failure to conduct its affairs in good faith.

            WHEREFORE, Plaintiff MONETTE SACCAMENO respectfully requests that
            this Honorable Court to:
            a.     find that US Bank and OCWEN have materially breached the mortgage
            contract;
            b.      award Plaintiff her actual damages to be proven at trial;
            c.      award Plaintiff her reasonable attorney fees and costs; and
            d.      award Plaintiff any other relief this Honorable Court deems equitable and
            just.

            COUNT II – VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT
                                    (AGAINST OCWEN)

 64. Saccameno restates and realleges paragraphs 1 through 59 as though fully set forth

    herein.

 65. Plaintiff is a “consumer” as defined by FDCPA § 1692a(3).

 66. The subject debt and the unauthorized fees and costs qualify as a “debts” as defined by

    FDCPA § 1692a(5) as they arise out of a transaction for personal, family, or household

    purposes.

 67. Ocwen is a “debt collector” as defined by § 1692a(6) because Ocwen regularly collect

    debts and uses the mail and/or the telephone to collect delinquent consumer accounts.


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    Ocwen is a “debt collector” under the FDCPA because the Mortgage Loan was in

    default at time the Mortgage Loan was acquired by Ocwen.

 68. The FDCPA prohibits the use of “conduct the natural consequence of which is to harass,

    oppress, or abuse any person in connection with the collection of a debt.” 15 U.S.C.

    §1692d.

 69. The FDCPA prohibits the use of “any false, deceptive, or misleading representation or

    means in connection with the collection of any debt.” 15 U.S.C. §1692e.

 70. The FDCPA prohibits the use of “use unfair or unconscionable means to collect or

    attempt to collect any debt.” 15 U.S.C. §1692f.

 71. Defendant violated 15 U.S.C. §§1692 d, e(2), e(5), e(8), e(10), f and f(1) through its debt

    collection efforts.

    Violations of § 1692d

 72. Ocwen violated 15 U.S.C. §1692d when Ocwen engaged in abusive and oppressive

    conduct within one year of the filing of the Complaint through (i) unethical

    mismanagement of the escrow account; (ii) refusal to correct their accounting errors or

    adequately respond to Plaintiff’ repeated disputes over several years; (iii) misapplication

    and rejection of payments; and (iv) assessment of illegal fees.

    Violations of §§ 1692e & f

 73. Ocwen's actions violated 15 U.S.C. §§ 1692e & f by unfairly, unconscionable, falsely

    and deceptively (i) misrepresenting the status of the debt; (ii) attempting to collect

    illegal fees and costs not authorized by law or the contract; (iii) misrepresenting the

    amounts owed for escrow; (iv) declaring the loan in delinquent or default status; (v)

    threatening a foreclosure sale, (vi) assessing illegal foreclosure fees; (vii) assessing



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    escrow overdraft charges and improper corporate advances, fees, and costs in their

    dunning letters, acceleration notices, restatement letters, and payoff letters; (viii)

    reporting false information and by reporting the loan delinquent to credit bureaus.

 74. Ocwen violated 15 U.S.C. §1692(e)(2) when it misrepresented the character, amount,

    or legal status of the subject debt by (i) attempting to collect illegal fees and costs not

    authorized by law or the contract; (ii) misrepresenting the amounts owed for escrow;

    (iii) declaring the loan in delinquent or default status; (iv) threatening a foreclosure sale,

    (v) assessing illegal foreclosure fees; and (vi) assessing escrow overdraft charges and

    improper corporate advances, fees, and costs in their dunning letters, acceleration

    notices, restatement letters, and payoff letters.

 75. Ocwen violated 15 U.S.C. §1692(e)(5) when it took legal action that cannot legally be

    taken by not dismissing the foreclosure case as a result of the Chapter 13 Discharge and

    subsequently (1)making misrepresentations of the legal status of the debt;                (ii)

    attempting to collect illegal fees and costs not authorized by law or the contract; (iii)

    making misrepresentations of the amounts owed for escrow; (iv) declaring the loan in

    delinquent or default status; (v) threatening a foreclosure sale, (vi) assessing illegal

    foreclosure fees; and (vii) assessing escrow overdraft charges and improper corporate

    advances, fees, and costs in their dunning letters, acceleration notices, restatement

    letters, and payoff letters.

 76. Ocwen violated 15 USC § 1692e(8) by reporting false information to a third parties

    when it reported Saccameno loan as delinquent to the three credit bureaus.

 77. Ocwen violated 15 U.S.C. §1692(e)(10) when it employed deceptive means by (i)

    misrepresenting of the status of the debt; (ii) attempting to collect illegal fees and costs



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    not authorized by law or the contract; (iii) misrepresenting the amounts owed for

    escrow; (iv) declaring the loan in delinquent or default status; (v) threatening a

    foreclosure sale, (vi) assessing illegal foreclosure fees; and (vii) assessing escrow

    overdraft charges and improper corporate advances, fees, and costs in their dunning

    letters, acceleration notices, restatement letters, and payoff letters.

 78. Ocwen violated 15 U.S.C. §1692f by employing unfair and unconscionable means to

    collect the subject debt by (i) attempting to collect illegal fees and costs not authorized

    by law or the contract; (ii) misrepresenting the amounts owed for escrow; (iii) declaring

    the loan in delinquent or default status; (iv) threatening a foreclosure sale, (v) assessing

    illegal foreclosure fees; (vi) assessing escrow overdraft charges and improper corporate

    advances, fees, and costs in their dunning letters, acceleration notices, restatement

    letters, and payoff letters; and (vii) reporting false information and by reporting the loan

    delinquent to credit bureaus.

 79. Ocwen violated 15 U.S.C. §1692f (1) by attempting to collect and collecting amounts

    (including any interest, fee, charge, or expense incidental to the principal obligation) that

    were not expressly authorized by the agreement creating the debt (Note and/or

    Mortgage) or permitted by law via the Chapter 13 Bankruptcy Discharge by (1)

    misrepresenting of the status of the debt; (ii) attempting to collect illegal fees and costs

    not authorized by law or the contract; (iii) misrepresenting of the amounts owed for

    escrow; (iv) declaring the loan in delinquent or default status; (v) threatening a

    foreclosure sale, (vi) assessing illegal foreclosure fees; (vii) assessing escrow overdraft

    charges and improper corporate advances, fees, and costs in their dunning letters,




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    acceleration notices, restatement letters, and payoff letters; and (viii) reporting false

    information and by reporting the loan delinquent to credit bureaus.

           WHEREFORE, Plaintiff DONNA SACCAMENO requests that this Honorable

           Court:

       a. enter judgment in favor of Plaintiff and against Ocwen;

       b. declare that the practices complained of herein are unlawful and violate the

           aforementioned statutes and regulations;

       c. award Plaintiff statutory and actual damages, in an amount to be determined at

           trial, for the underlying FDCPA violations;

       d. order the deletion of all adverse credit reporting related to the loan;

       e. award Plaintiff costs and reasonable attorney fees as provided under 15 U.S.C.

           §1692k; and

       f. award any other relief as this Honorable Court deems just and appropriate.


           COUNT III– VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT
                                 (AGAINST POTESTIVO)

 80. Saccameno restates and realleges paragraphs 1 through 59 as though fully set forth

    herein.

 81. Plaintiff is a “consumer” as defined by FDCPA § 1692a(3).

 82. The subject debt and the unauthorized fees and costs qualify as a “debts” as defined by

    FDCPA § 1692a(5) as they arise out of a transaction for personal, family, or household

    purposes.




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 83. Potestivo, is a “debt collector” as defined by § 1692a(6) because Potestivo regularly

    collect debts and use the mail and/or the telephone to collect delinquent consumer

    accounts.

 84. As alleged above, Potestivo prepared and sent a Reinstatement Statement on January 19,

    2015 (Exhibit J). This and other actions by Potestivo violated 15 U.S.C. §§1692 d, e(2),

    e(5), e(10), f and f(1) through its debt collection efforts within one year of the filing of

    the Complaint in this case.

 85. The FDCPA prohibits the use of “conduct the natural consequence of which is to harass,

    oppress, or abuse any person in connection with the collection of a debt.” 15 U.S.C.

    §1692d.

 86. The FDCPA prohibits the use of “any false, deceptive, or misleading representation or

    means in connection with the collection of any debt” 15 U.S.C. §1692e.

 87. The FDCPA prohibits the use of “use unfair or unconscionable means to collect or

    attempt to collect any debt” 15 U.S.C. §1692f.

    Violation of § 1692d

 88. Potestivo violated 15 U.S.C. §1692d when Potestivo engaged in abusive and oppressive

    conduct by sending a reinstatement letter that (i) refuses to correct Ocwen's accounting

    errors or adequately respond to Plaintiff’ repeated disputes over several years with

    Ocwen that Potestivo was aware of; (ii) allowed the misapplication and rejection of

    payments; and (iii) reflects the assessment of illegal fees.

    Violation of §§ 1692e & f




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 89. Potestivo 's actions under 15 U.S.C. §§ 1692e & f within one year of the filing of the

    Complaint were unfair, unconscionable, false and deceptive as they failure to confirm

    Ocwen's information prior to sending it to Plaintiff.

 90. The reinstatement letter includes: (i) misrepresentations of the status of the debt; (ii)

    attempts to collect illegal fees and costs not authorized by law or the contract; (iii)

    misrepresentations of the amounts owed for escrow; (iv) declaring the loan in delinquent

    or default status; (v) threatening a foreclosure sale, (vi) assessing illegal foreclosure

    fees; (vii) assessing escrow overdraft charges and improper corporate advances, fees,

    and costs in their dunning letters, acceleration notices, restatement letters, and payoff

    letters; (viii) reporting false information and by reporting the loan delinquent to credit

    bureaus.

 91. Potestivo violated 15 U.S.C. §1692(e)(2) when it misrepresented the character, amount,

    or legal status of the subject debt by (i) misrepresentations of the status of the debt; (ii)

    attempts to collect illegal fees and costs not authorized by law or the contract; (iii)

    misrepresentations of the amounts owed for escrow; (iv) declaring the loan in delinquent

    or default status; (v) threatening a foreclosure sale, (vi) assessing illegal foreclosure

    fees; and (vii) assessing escrow overdraft charges and improper corporate advances,

    fees, and costs in their dunning letters, acceleration notices, restatement letters, and

    payoff letters.

 92. Potestivo violated 15 U.S.C. §1692(e)(5) when it took legal action that cannot legally

    be taken by not dismissing the foreclosure case as a result of the Chapter 13 Discharge

    and subsequently made (1)misrepresentations of the status of the debt; (ii) attempts to

    collect illegal fees and costs not authorized by law or the contract; (iii)



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    misrepresentations of the amounts owed for escrow; (iv) declaring the loan in delinquent

    or default status; (v) threatening a foreclosure sale, (vi) assessing illegal foreclosure

    fees; and (vii) assessing escrow overdraft charges and improper corporate advances,

    fees, and costs in their dunning letters, acceleration notices, restatement letters, and

    payoff letters.

 93. Potestivo violated 15 U.S.C. §1692(e)(10) when it employed deceptive means by (i)

    misrepresentations of the status of the debt; (ii) attempts to collect illegal fees and costs

    not authorized by law or the contract; (iii) misrepresentations of the amounts owed for

    escrow; (iv) declaring the loan in delinquent or default status; (v) threatening a

    foreclosure sale, (vi) assessing illegal foreclosure fees; and (vii) assessing escrow

    overdraft charges and improper corporate advances, fees, and costs in their dunning

    letters, acceleration notices, restatement letters, and payoff letters.

 94. Potestivo violated 15 U.S.C. §1692f by employing unfair and unconscionable means to

    collect the subject debt (i) misrepresentations of the status of the debt; (ii) attempts to

    collect illegal fees and costs not authorized by law or the contract; (iii)

    misrepresentations of the amounts owed for escrow; (iv) declaring the loan in delinquent

    or default status; (v) threatening a foreclosure sale, (vi) assessing illegal foreclosure

    fees; (vii) assessing escrow overdraft charges and improper corporate advances, fees,

    and costs in their dunning letters, acceleration notices, restatement letters, and payoff

    letters; (viii) reporting false information and by reporting the loan delinquent to credit

    bureaus.

 95. Potestivo violated 15 U.S.C. §1692f (1) by attempting to collect and collecting amounts

    (including any interest, fee, charge, or expense incidental to the principal obligation) that



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    were not expressly authorized by the agreement creating the debt (Note and/or

    Mortgage) or permitted by law via the Chapter 13 Bankruptcy Discharge by (1)

    misrepresentations of the status of the debt; (ii) attempts to collect illegal fees and costs

    not authorized by law or the contract; (iii) misrepresentations of the amounts owed for

    escrow; (iv) declaring the loan in delinquent or default status; (v) threatening a

    foreclosure sale, (vi) assessing illegal foreclosure fees; (vii) assessing escrow overdraft

    charges and improper corporate advances, fees, and costs in their dunning letters,

    acceleration notices, restatement letters, and payoff letters; (viii) reporting false

    information and by reporting the loan delinquent to credit bureaus.



    WHEREFORE, Plaintiff, MONETTE E. SACAMENO, requests that this Honorable

    Court:

    a.       enter judgment in her favor and against Potestivo;
    b.    declare that the practices complained of herein are unlawful and violate the
    aforementioned statutes and regulations;
    c.      award Plaintiff statutory and actual damages, in an amount to be determined at
    trial, for the underlying FDCPA violations;
    d        order the deletion of all adverse credit reporting related to the loan;
    e.   award Plaintiff costs and reasonable attorney fees as provided under 15 U.S.C.
    §1692k; and
    f.       award any other relief as this Honorable Court deems just and appropriate.

                   COUNT IV – VIOLATION OF ILLINOIS CONSUMER FRAUD ACT
                                     (AGAINST OCWEN)

 96. Saccameno restates and realleges paragraphs 1 through 59 as though fully set forth

    herein.

 97. Plaintiff meets the ICFA definition of “consumer.” See 810 ILCS 505/1.




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 98. US Bank and/or Ocwen violated 815 ILCS 505/2 by engaging in unfair and deceptive

    acts, and by using fraud, deception, and misrepresentation in their attempts to collect a

    debt.

    Unfairness

 99. Ocwen's conduct in relation to Plaintiff’ loan was willful, malicious, unfair, arbitrary,

    and desigened to place Plaintiff’ account in a perpetual state of default.

 100. Ocwen's conduct offends public policy as it demonstrated an industry-wide practice of

    charging unearned fees and costs to a borrower in order to make a profit, and to deceive

    borrowers into paying more than what is owed.

 101. Ocwen's actions are immoral because overcharging Plaintiff for unearned fees,

    overcharging Plaintiff’ escrow without providing a refund, and filing a wrongful

    foreclosure amounts to an undue hardship to the borrower and an equally undue profit

    for Ocwen.

 102. Ocwen's actions caused substantial injury to Plaintiff and to consumers generally, as

    Plaintiff and consumers reasonably expect their contracts to be honored and their loans

    and escrow accounts to be properly managed and their payments properly applied.

 103. Plaintiff could not avoid these immoral undertakings because Ocwen would not

    accurately communicate with her in response to her phone calls, letters, and other

    objections.

 104. When taken as a whole over several years, Ocwen's conduct was so unethical and

    unending, that Plaintiff had no choice but to submit.

    Deception




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 105. Ocwen's following actions were deceptive: (i) attempting to collect upon and foreclose

    upon a debt that was not in default; (ii) sending disclosures, statements, and notices that

    included    unauthorized   or   unearned     costs   and   fees;    (iii)   making   material

    misrepresentations of fact regarding the status of the subject loan, the payment history,

    and the amounts actually owed for taxes and insurance; (iv) overcharging Plaintiff’

    escrow for taxes and insurance; (v) providing conflicting disclosures to Plaintiff; and

    (vi) employing communications with Plaintiff that were confusing and specifically

    designed to confuse Plaintiff so that she could not decipher the true status of her loan

    account.

    Misrepresentation

 106. In addition to the above conduct, Ocwen misrepresented the amounts due so Plaintiff

    could not understand why her payments were insufficient to bring the loan “current.”

 107. Plaintiff relied on the amounts that Ocwen stated that she owed to her detriment.

 108. Ocwen made material misrepresentations regarding the amounts due under the loan,

    amounts due for escrow, and how Plaintiff’ payments were applied.

 109. Due to the misrepresentations, Plaintiff was unable to determine why her payments

    were “insufficient” to bring the loan “current” or why she was required to overpay her

    escrow account.

 110. The misrepresentations, deception, and unfair practices complained of occurred in the

    course of conduct involving trade or commerce.                     Plaintiff relied on the

    misrepresentations, deception, and unfair practices to her own detriment.




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 111. Punitive damages are warranted because the Servicers’ conduct was outrageous,

    willful, wanton, and showed reckless disregard for the rights of Plaintiff and consumers

    in general.

           WHEREFORE, Plaintiff MONETTE E. SACAMENO requests that this

    Honorable Court:

        a) enter judgment in her favor and against Ocwen;
        b) declare that the practices complained of herein are unlawful and violate the
            aforementioned statutes and regulations;
        c) award Plaintiff statutory, actual, and punitive damages, in an amount to be
            determined at trial, for the underlying ICFA violations;
        d) order the deletion of all adverse credit reporting related to the loan;
        e) award Plaintiff costs and reasonable attorney fees as provided under 815 ILCS
            505/10a(c); and
        f) award any other relief as this Honorable Court deems just and appropriate.

        COUNT V – VIOLATION OF THE REAL ESTATE SETTLEMENT PROCEDURES ACT
                          (AGAINST OCWEN AND US BANK)

 112. Saccameno restates and realleges paragraphs 1 through 59 as though fully set forth

    herein.

 113. The subject loan is a “federally related mortgage” under RESPA.

 114. US Bank and Ocwen each qualify as a “servicer” under RESPA § 2605(i)(2).

 115. While servicing the subject loan, US Bank and/or Ocwen charged Plaintiff improper

    fees, costs, and charges not legally due under the mortgage contract or applicable law.

 116. US Bank and/or Ocwen violated RESPA by requiring Plaintiff to make excessive

    escrow payments not based on the amount legally due after the Chapter 13 Bankruptcy

    Discharge and reasonably estimated expenditures or publically available data, tax bills,

    or insurance bills for the subject property.




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 117. US Bank and/or Ocwen failed to timely acknowledge receipt of, respond to, or conduct

    a reasonable investigation in response to Plaintiff’ QWRs or requests for information

    and disputes regarding servicing in violation of RESPA § 2605(e).

 118. US Bank and/or Ocwen violated RESPA § 2605(e)(3) by failing to acknowledge

    receipt of Plaintiff’ letters disputing the application of payments, the assessment of

    illegal fees, and the handling of the escrow account.

 119. US Bank and/or Ocwen violated RESPA by reporting Plaintiff as delinquent to credit

    bureaus within sixty days of receiving a letter disputing the servicing.

 120. US Bank and/or Ocwen violated RESPA by failing to correct Plaintiff’ account within

    sixty days of receiving a letter disputing the servicing in violation of RESPA §

    2605(e)(2)(A).

    Escrow, Taxes, and Insurance

 121. US Bank and/or Ocwen violated RESPA by

        a) demanding escrow payments that significantly exceeded the actual amount
            required for insurance and taxes;
        b) overcharging Plaintiff for taxes and insurance;
        c) assessing fees against Plaintiff without conducting a complete and accurate annual
            escrow analysis or providing prior notice (12 U.S.C. § 2609(b));
        d) deducting amounts from Plaintiff’ account for unrelated fees and costs;
        e) implementing an “escrow shortage or deficiency” without providing notice or
            producing documentation to substantiate the shortage prior to collection;
        f) failing to send notice of the escrow increase or conduct an accurate annual escrow
            analysis before imposing fees to Plaintiff’ escrow account;
        g) failing to provide any notice of the escrow shortage until after it had charged the
            amount to Plaintiff’ account and deducted it from the escrow;
        h) demanding, assessing, charging, and funding Plaintiff’ escrow account with more
            than the 1/6th cushion allowed under RESPA § 2609(2);
        i) failing to refund a escrow surplus over $50; and
        j) failing to correct the wrongful escrow increase, charge, or deductions for taxes
            and insurance in accordance with RESPA.
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    WHEREFORE, Plaintiff MONETTE E. SACAMENO requests that this Honorable

    Court:

        a) grant judgment in her favor and against Ocwen and US Bank;
        b) declare Ocwen and US Banks' perpetual conduct to be a violation of RESPA;
        c) award Plaintiff actual and additional damages pursuant to RESPA § 2605;
        d) award Plaintiff reasonable attorney fees and costs pursuant to RESPA § 2605(f);
            and
        e) award any other relief this Honorable Court deems equitable and just.


                          COUNT VI – BREACH OF FIDUCIARY DUTY
                             (AGAINST OCWEN AND US BANK)

 122. Saccameno restates and realleges paragraphs 1 through 59 as though fully set forth

    herein.

 123. A fiduciary relationship existed between US Bank and/or Ocwen and Plaintiff with

    respect to management of Plaintiff's escrow account.

 124. US Bank and/or Ocwen owed a fiduciary duty to Plaintiff because they were placed in a

    position of trust while managing Plaintiff’ escrow account.

 125. US Bank and/or Ocwen had a duty under the mortgage with respect to the escrow

    account to apply the amounts held in escrow for proper purposes only.

 126. US Bank and/or Ocwen breached their duty by (a) using escrow funds to pay unearned

    fees and costs and to overpay taxes and insurance; (b) misleading Plaintiff as to the

    amount of insurance and taxes owed; (c) debiting illegal amounts from the escrow

    account without authorization; and (d) profiting from undisclosed fees and costs and

    overpayment of taxes and insurance.




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 127. US Bank and/or Ocwen failed to manage the escrow account in good faith when they

    (a) failed to properly account for timely payments; (b) failed to provide sufficient notice

    of a payment change or escrow change; (c) failed to provide Plaintiff notice for actual

    amounts due for insurance and taxes; and (d) failed to respond to Plaintiff after repeated

    requests; and (e) used the escrow account to pay for unauthorized fees unrelated to taxes

    or insurance.

 128. US Bank and/or Ocwen exercised their discretion arbitrarily, capriciously, and in a

    manner inconsistent with the reasonable expectations of the parties, without a proper

    motive.

    WHEREFORE, Plaintiff MONETTE E. SACAMENO respectfully requests that this
    Honorable Court to:
        a) find that Ocwen, Nationstar, and Freddie Mac materially breached their fiduciary
            duties;
        b) award Plaintiff her actual damages and punitive damages to be proven at trial;
        c) award Plaintiff her reasonable attorney fees and costs; and
        d) award Plaintiff any other relief this Honorable Court deems equitable and just.


    Plaintiff demands trial by jury.

    Respectfully Submitted,
                                                 By: /s/ Paul M. Bach
                                                 Paul M. Bach
                                                 Attorney for Plaintiff

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